8:14-cr-00363-BCB-MDN          Doc # 269    Filed: 03/03/17    Page 1 of 1 - Page ID # 769




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA

                     Plaintiffs,                                  8:14CR363

      vs.
                                                         ORDER TO WITHDRAW
REYNALDO URBINA-SOTRES                                  EXHIBITS OR TO SHOW
                                                         CAUSE WHY EXHIBITS
                                                      SHOULD NOT BE DESTROYED
                   Defendant.




       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the defendant shall
either 1) withdraw the following exhibits previously submitted in this matter within 14
calendar days of the date of this order, or 2) show cause why the exhibits should not be
destroyed:


       (Exhibit number 101) / Motion Hearing / August 13, 2015)


       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk=s office is directed to destroy the listed
exhibits without further notice to the parties or order from the court.



       IT IS SO ORDERED.

       Dated this 3rd day of March, 2017.


                                                  BY THE COURT:

                                                  s/ Laurie Smith Camp
                                                  Chief United States District Judge
